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09/21/2018 12:09 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          300 Nebraska R eports
                                    STATE EX REL. COUNSEL FOR DIS. v. CULLAN
                                                Cite as 300 Neb. 948



                          State     of   Nebraska ex rel. Counsel for Discipline
                                of the     Nebraska Supreme Court, relator,
                                         v. Joseph P. Cullan, respondent.
                                                     ___ N.W.2d ___

                                          Filed August 31, 2018.   No. S-18-441.

                    Original action. Judgment of public reprimand.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke, and
               Papik, JJ.
                    Per Curiam.
                                     INTRODUCTION
                  On May 2, 2018, the Iowa Supreme Court filed an order
               of public reprimand of the respondent, Joseph P. Cullan. The
               Counsel for Discipline of the Nebraska Supreme Court, the
               relator, filed a motion for reciprocal discipline against the
               respondent. We grant the motion for reciprocal discipline and
               impose the same discipline as the Iowa Supreme Court.
                                          FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on July 1, 2001. The respondent is also a
               member of the state bars of California and Arizona.
                  On May 2, 2018, the Iowa Supreme Court, through the Iowa
               Supreme Court Attorney Disciplinary Board, issued an order of
               public reprimand of the respondent in case No. 18-0434. The
               respondent’s case before the Iowa attorney disciplinary board
               generally involved representing in an application for admission
               pro hac vice that he had not been sanctioned in the past. In
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. CULLAN
                        Cite as 300 Neb. 948
fact, the respondent had recently been sanctioned in two cases
in the district court for Douglas County, Nebraska.
   On May 4, 2018, the relator filed a motion for reciprocal
discipline pursuant to Neb. Ct. R. § 3-321 of the discipli­
nary rules.

                           ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982, 814
N.W.2d 107 (2012). In a reciprocal discipline proceeding, a
judicial determination of attorney misconduct in one jurisdic-
tion is generally conclusive proof of guilt and is not subject to
relitigation in the second jurisdiction. Id. Neb. Ct. R. § 3-304
of the disciplinary rules provides that the following may be
considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3-321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion,
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           Nebraska Supreme Court A dvance Sheets
                   300 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. CULLAN
                        Cite as 300 Neb. 948
      suspend the member pending the imposition of final dis-
      cipline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as deter-
mined by the Iowa attorney disciplinary board, we determine
that public reprimand is appropriate. Our record includes a
notice of the findings of the Iowa attorney disciplinary board
which found that the respondent’s “lack of care . . . went
beyond mere negligence.” We take the determination of mis-
conduct as found in the Iowa public reprimand to be estab-
lished herein. Accordingly, we grant the motion for reciprocal
discipline and enter an order of public reprimand.
                        CONCLUSION
   The motion for reciprocal discipline is granted. The respond­
ent is publicly reprimanded. The respondent is directed to pay
costs and expenses in accordance with Neb. Ct. R. §§ 3-310(P)
(rev. 2014) and 3-323 of the disciplinary rules within 60 days
after an order imposing costs and expenses, if any, is entered
by the court.
                               Judgment of public reprimand.
